Case 3:17-cv-01154-LAB-AGS Document 266 Filed 08/27/20 PageID.7445 Page 1 of 68



   1   Christopher S. Morris, Esq., SBN 163188
       cmorris@morrislawfirmapc.com
   2   Danielle R. Pena, Esq., SBN 286002
       dpena@morrislawfirmapc.com
   3   MORRIS LAW FIRM, APC
       501 West Broadway, Suite 1480
   4   San Diego, CA 92101
       Telephone: (619) 826-8060
   5   Facsimile: (619) 826-8065
   6   Attorneys for Michelle Moriarty, as
       Successor in Interest and Guardian Ad Litem
   7   to Alexandria, Elijah and Eternity Moriarty
   8

   9                      IN THE UNITED STATES DISTRICT COURT

  10                    FOR THE SOUTHERN DISTRICT OF CALIFORNIA

  11 MICHELLE MORIARTY, an individual,            Case No.: 3:17-cv-01154-LAB-AGS
     as Successor in Interest to the ESTATE
  12 OF HERON MORIARTY and as                     EX PARTE MOTION FOR LEAVE
     GUARDIAN AD LITEM to                         TO:
  13 ALEXANDRIA MORIARTY, ELIJAH
     MORIARTY, and ETERNITY                          1. TAKE MS. WERNER’S
  14 MORIARTY,                                          DEPOSITION
                                                     2. ADD MS. WERNER TO THE
  15      Plaintiffs,                                   PTO WITNESS LIST; AND
                                                     3. COMPEL DEFENDANTS TO
  16         v.                                         PRODUCE MS. WERNER’S
                                                        RECORDED STATEMENTS
  17 COUNTY OF SAN DIEGO, DR.
     ALFRED JOSHUA, individually, and             Magistrate: Hon. Andrew G. Schopler
  18 DOES 1 through 10, Inclusive,                Judge:      Hon. Larry A. Burns
  19   Defendants.

  20

  21

  22

  23

  24

  25

  26

  27

  28
                                              1
       EX PARTE MOTION FOR LEAVE TO TAKE DEPOSITION OF WERNER        3:17-cv-01154-LAB-AGS
Case 3:17-cv-01154-LAB-AGS Document 266 Filed 08/27/20 PageID.7446 Page 2 of 68



   1                                                TABLE OF CONTENTS
   2   I. INTRODUCTION ................................................................................................... 4
   3   II. GOOD CAUSE EXISTS FOR PLAINTIFFS TO TAKE MS. WERNER’S
   4   DEPOSITION ............................................................................................................. 6
   5      A.       Plaintiffs Were Diligent in Their Pursuit of Discovery ................................. 7
   6      B.       Plaintiffs Were Diligent in Filing this Motion ............................................... 9
   7   III. DEFENDANTS SHOULD BE ORDERED TO PRODUCE MS. WERNER’S
   8   RECORDED STATEMENTS .................................................................................. 10
   9   IV. MS. WERNER SHOULD BE ADDED TO PLAINTIFFS’ WITNESS LIST ......
  10   ................................................................................................................................... 11
  11   V. THE COUNTY’S CONTENTION THAT PLAINTIFFS’ COUNSEL SHOULD
  12   NOT HAVE SPOKEN TO MS. WERNER IS A DISTRACTION BOMB THAT
  13   SHOULD NOT BE GIVEN CONSIDERATION.................................................... 12
  14   VI. CONCLUSION .................................................................................................. 16
  15

  16

  17

  18

  19

  20

  21

  22

  23

  24

  25

  26

  27

  28
                                                                         2
       EX PARTE MOTION FOR LEAVE TO TAKE DEPOSITION OF WERNER                                                 3:17-cv-01154-LAB-AGS
Case 3:17-cv-01154-LAB-AGS Document 266 Filed 08/27/20 PageID.7447 Page 3 of 68



   1                                       TABLE OF AUTHORITIES
   2                                                       CASES
   3   Byrd v. Guess
   4       137 F.3d 1126 (9th Cir. 1998) .......................................................................... 11
   5   Fresno Rock Taco, LLC v. Nat’l Surety Corp.
   6       2014 U.S. Dist. LEXIS 58085 (E.D. Cal. 2014) .............................................. 11
   7   Germain v. Aig Domestic Claims Servs.
   8       2009 U.S. Dist. LEXIS 148023 (Mon. 2009)................................................... 11
   9   Guzman v. Bridgepoint Educ., Inc.
  10       305 F.R.D. 594 (S.D. Cal. 2015) ........................................................................ 8
  11   Johnson v. Mammoth Recreations, Inc.
  12       975 F.2d 604 (9th Cir.1992) ............................................................................... 6
  13   Morris v. Sutton
  14       2019 U.S. Dist. LEXIS 109896, *5-6................................................................. 7
  15   Snider v. Superior Court
  16       113 Cal.App.4th 1187 (2003) ........................................................................... 14
  17   Terry v. Wasatch Advantage Grp., LLC
  18       327 F.R.D. 395 (E.D. Cal. 2019) ........................................................................ 7
  19                                                      RULES
  20   California State Bar Rule of Professional Conduct 1.13 ....................................... 13
  21   California State Bar Rule of Professional Conduct 1.7 ......................................... 13
  22   California State Bar Rule of Professional Conduct 4.2 ................................... 13, 15
  23   Federal Rule of Civil Procedure 16(b) .................................................................... 6
  24   Federal Rule of Civil Procedure 16(e)................................................................... 11
  25

  26

  27

  28
                                                               3
       EX PARTE MOTION FOR LEAVE TO TAKE DEPOSITION OF WERNER                                  3:17-cv-01154-LAB-AGS
Case 3:17-cv-01154-LAB-AGS Document 266 Filed 08/27/20 PageID.7448 Page 4 of 68



   1                                             I.
   2                                    INTRODUCTION
   3         Unbeknownst to Plaintiffs, and this Court, Defendants withheld the existence
   4   of a county employee that was working on the morning of May 31, 2016, the day
   5   Hereon Moriarty killed himself in his cell. This witness recalls a vastly different
   6   account of the events pertaining to Moriarty’s foreseeable suicide.1 The employee,
   7   Jeannette Werner, vehemently disputes that county employees were unaware of
   8   Moriarty’s suicidal ideations. In Ms. Werner’s opinion, nearly everyone working in
   9   the jail knew Moriarty was a risk of suicide. Her account of events was known to
  10   County Counsel as of March 2018, but was withheld despite on-point discovery
  11   requests propounded by Plaintiffs.
  12         On July 13, 2020, Ms. Werner, a current county employee, contacted Morris
  13   Law Firm seeking independent counsel relating to a matter adverse to the county;
  14   namely, what she saw as the county’s failure to protect inmates and its employees
  15   from the Corona Virus Pandemic. During that conversation, Ms. Werner, on her
  16   own accord, began discussing a case that had continued to haunt her – the Moriarty
  17   case. When she realized that Morris Law Firm represented the Moriarty family, she
  18   stated she was willing to publicly come forward with, and is willing to testify to,
  19   the following information relevant to this matter:
  20         a.     Ms. Werner is a medical records clerk for the San Diego County
  21                Sheriff’s Department.
  22         b.     She works at Vista Detention Facility and was present on the morning
  23                of May 31, 2016.
  24
       1
        Pleadings in this matter have been set since March 21, 2018, and discovery cutoff
  25   in this matter was February 20, 2019. On September 24, 2019, Plaintiffs’ Section
  26   1983 claims were dismissed on summary judgment because this Court found
       neither Defendant Daniels nor Defendant Weidenthaler knew Moriarty was suicidal
  27   on May 31, 2016, the day Defendant Daniels recommended a safety cell and
       Defendant Weidenthaler rejected it based on “homicidal ideation.” (Order [Dkt.
  28   123], p. 15.) Six hours later, Moriarty killed himself.
                                                 4
       EX PARTE MOTION FOR LEAVE TO TAKE DEPOSITION OF WERNER            3:17-cv-01154-LAB-AGS
Case 3:17-cv-01154-LAB-AGS Document 266 Filed 08/27/20 PageID.7449 Page 5 of 68



   1         c.    During his detainment, Moriarty’s suicidal condition was well known
   2               to medical staff. Moriarty could be heard howling throughout the jail
   3               for at least two days. Ms. Werner was forced to plug her ears during
   4               work because Moriarty was wailing and howling like a wounded
   5               animal.
   6         d.    On May 31, 2016, it was well known throughout the nurses’ station
   7               that Moriarty was refusing medication and decompensating.
   8         e.    Ms. Werner, along with other county employees, knew Mr. Moriarty
   9               was a high risk of suicide on May 31, 2016.
  10         f.    On the morning of May 31, 2016, Ms. Werner was informed that
  11               Defendant Weidenthaler rejected the safety cell placement ordered by
  12               Defendant Daniels.
  13         g.    In response, Ms. Werner immediately approached Defendant
  14               Weidenthaler.
  15         h.    Ms. Werner asked Defendant Weidenthaler if he rejected the safety
  16               cell order. Defendant Weidenthaler said “Yes.” In response, Ms.
  17               Werner said “Really, don’t you hear him howling? He’s been howling
  18               for two days!” Defendant Weidenthaler responded, “It’s my big five.
  19               Do you want to do the paperwork?” Ms. Werner responded, “Yes, I
  20               can type faster than you talk, I was a certified court reporter. He needs
  21               to be placed in the safety cell.” Defendant Weidenthaler recoiled and
  22               told Ms. Werner to “Stand down.”
  23         i.    According to Ms. Werner, based on her conversation with Defendant
  24               Weidenthaler, he unequivocally knew Moriarty was a high risk of
  25               suicide and needed to be placed in a safety cell for suicidal ideations—
  26               not homicidal ideations.
  27         j.    The following morning, after Moriarty’s death, Defendant
  28               Weidenthaler walked into Ms. Werner’s office and closed the door
                                                5
       EX PARTE MOTION FOR LEAVE TO TAKE DEPOSITION OF WERNER           3:17-cv-01154-LAB-AGS
Case 3:17-cv-01154-LAB-AGS Document 266 Filed 08/27/20 PageID.7450 Page 6 of 68



   1                behind him. He threatened Ms. Werner not to discuss the conversation
   2                they had regarding Moriarty. (See Declaration of Jeannette Werner
   3                (“Werner Decl.”), ¶¶ 1-11.)
   4         Since then, Ms. Werner still hears Moriarty howling in her sleep. (See
   5   Werner Decl., ¶ 12.) She has lived with guilt and remorse for staying quiet. She
   6   has thought about the Moriarty family countless times. (See Werner Decl., ¶ 12.)
   7   Now that she is considering retirement, and because of the county’s continued
   8   apathy towards inmates, Ms. Werner is intent on coming forward.
   9         Ms. Werner’s statement, if testified to, hotly disputes Defendants’ entire
  10   defense that county employees were unaware Moriarty was suicidal. Based on her
  11   proffered account, Plaintiffs request leave: 1) to take Ms. Werner’s deposition prior
  12   to the motion in limine hearing, 2) to add Ms. Werner to Plaintiffs’ witness list, and
  13   3) to compel production of any recorded statement Defendants’ have relating to Ms.
  14   Werner.
  15                                              II.
  16     GOOD CAUSE EXISTS FOR PLAINTIFFS TO TAKE MS. WERNER’S
  17                                      DEPOSITION
  18         To seek discovery after the deadlines set in the scheduling order, a party must
  19   show good cause pursuant to Federal Rule of Civil Procedure 16(b). The “good
  20   cause” standard “primarily considers the diligence of the party seeking the
  21   amendment.” Johnson v. Mammoth Recreations, Inc., 975 F.2d 604, 609 (9th
  22   Cir.1992). To establish good cause, the party seeking the modification of a
  23   scheduling order must generally show that even with the exercise of due diligence,
  24   they cannot meet the requirement of that order. Id. The prejudice to other parties,
  25   if any, may be considered, but the focus is on the moving party's reason for seeking
  26   the modification. Id.
  27         “Relevant inquiries [into diligence] include: whether the movant was diligent
  28   in helping the court to create a workable Rule 16 order; whether matters that were
                                                  6
       EX PARTE MOTION FOR LEAVE TO TAKE DEPOSITION OF WERNER            3:17-cv-01154-LAB-AGS
Case 3:17-cv-01154-LAB-AGS Document 266 Filed 08/27/20 PageID.7451 Page 7 of 68



   1   not, and could not have been, foreseeable at the time of the scheduling conference
   2   caused the need for amendment; and whether the movant was diligent in seeking
   3   amendment once the need to amend became apparent.” Terry v. Wasatch
   4   Advantage Grp., LLC, 327 F.R.D. 395, 404 (E.D. Cal. 2019); Morris v. Sutton,
   5   2019 U.S. Dist. LEXIS 109896, *5-6.
   6         A.     Plaintiffs Were Diligent in Their Pursuit of Discovery
   7         Plaintiffs seek leave to take Ms. Werner’s deposition. Pursuant to this
   8   Court’s scheduling order, the cutoff to take depositions was February 20, 2019.
   9   Despite Plaintiffs’ persistent and diligent discovery efforts, Plaintiffs were unable
  10   to comply with the deadline because Ms. Werner’s discussion with Weidenthaler,
  11   and her account of events, were concealed from Plaintiffs. (Declaration of
  12   Christopher S. Morris (“Morris Decl.), ¶ 1.) Defendants claim that they were not
  13   obligated to disclose Ms. Werner’s identity in their initial disclosures because
  14   Defendants did not intend on calling Ms. Werner as a witness. (Exhibit 1.) Ms.
  15   Werner’s name did not appear in any of the medical, correctional, or death-
  16   investigation documents produced by the county. (Morris Decl., ¶2.) And, every
  17   person deposed in this case, including Defendant Weidenthaler, was silent about
  18   Ms. Werner’s discussion with Defendant Weidenthaler. As such, Plaintiffs had no
  19   way of discovering Ms. Werner’s involvement.
  20         Plaintiffs contend Ms. Werner’s identity was responsive to Special
  21   Interrogatory No. 29, which states “During his incarceration, did anyone
  22   recommend MORIARTY be placed in a safety cell. If so, who.” Without
  23   objection, the county responded, “Yes. Nurse-practitioner Daniels.” Given Ms.
  24   Werner’s statement, and the plain meaning of the word “recommend,” the County’s
  25   response is incomplete, if not fraudulent, as Ms. Werner repeatedly recommended
  26   Moriarty be moved to a safety cell. (Exhibit 2.) This response was signed by Mr.
  27   Welsh three months after Ms. Werner’s interview with County Counsel and was
  28   never supplemented.
                                                  7
       EX PARTE MOTION FOR LEAVE TO TAKE DEPOSITION OF WERNER             3:17-cv-01154-LAB-AGS
Case 3:17-cv-01154-LAB-AGS Document 266 Filed 08/27/20 PageID.7452 Page 8 of 68



   1         During meet and confer efforts pertaining to the instant motion, the county
   2   claimed Ms. Werner’s identity was disclosed by Defendant Daniels.2 The county is
   3   referring to a screenshot of a text chain between Defendant Daniels and Deputy
   4   Johnson, wherein Defendant Daniels asks Deputy Johnson to secure her evaluation
   5   note inferring that the county would destroy it or alter it. In response, Deputy
   6   Johnson said, “I can’t right now. I’ll talk to Jeanette.” (Exhibit 3.) When asked
   7   “who is that,” Defendant Daniels simply testified “an admin person.” That was the
   8   extent of Plaintiffs’ knowledge. A benign reference to “an admin person” would
   9   not put a diligent party on notice that the “admin person” had knowledge of a
  10   discussion regarding Moriarty’s suicidal ideations and repeated attempts to
  11   convince Defendant Weidenthaler to save Moriarty’s life – especially when
  12   Defendants have taken steps to conceal that information. To argue that every
  13   “admin person” referenced in documents or depositions should have been noticed
  14   for deposition is disingenuous and, quite frankly, impossible. Notably, there are
  15   over 300 names of county employees that have been referenced in documents or
  16   depositions. (Morris Decl., ¶ 12.)
  17         “Courts have found the non-disclosure of a witness harmful where the
  18   witness was referenced in the same litigation.” Guzman v. Bridgepoint Educ., Inc.,
  19   305 F.R.D. 594, 607 (S.D. Cal. 2015) citing Rhodes v. Sutter Health, 949 F. Supp.
  20   2d at 1010 (E.D. Cal. 2013) (finding a plaintiff's non-disclosure of a witness was
  21   not harmless where, although the witness had been referenced in depositions, the
  22   defendant “was not on sufficient notice that the witness possessed information that
  23   supported plaintiff's claims or defenses such that the defendant could make an
  24   informed decision about whether to pursue discovery as to the witness.”). The
  25   same is true here, although Ms. Werner was benignly referenced as an admin
  26   person, Plaintiffs were not on sufficient notice that the admin person was involved
  27   2
        The County’s reliance on a muted reference to “Jeanette” in a text message does
       not absolve its obligation to truthfully and completely respond to Special
  28   Interrogatory No. 29.
                                                 8
       EX PARTE MOTION FOR LEAVE TO TAKE DEPOSITION OF WERNER             3:17-cv-01154-LAB-AGS
Case 3:17-cv-01154-LAB-AGS Document 266 Filed 08/27/20 PageID.7453 Page 9 of 68



   1   in Moriarty’s treatment and would have knowledge disputing the defense that
   2   county employees did not know Moriarty was suicidal.
   3         Accordingly, Plaintiffs were diligent in their discovery pursuits. They should
   4   not be punished—to the extent of silencing the truth—because Ms. Werner’s name
   5   was referenced in passing. Nor should Defendants benefit from their concealment.
   6   Not only did the county conceal Ms. Werner’s identity in its disclosures, it
   7   incompletely/fraudulently responded to Special Interrogatory No. 29. But it doesn’t
   8   stop there. None of the 25 percipient witnesses testified about the conversation Ms.
   9   Werner had with Defendant Weidenthaler despite the conversation occurring in the
  10   nurses’ station with several people around. Accordingly, Plaintiffs’ ex parte motion
  11   to take Ms. Werner’s deposition should be granted because Plaintiffs were left in
  12   the dark and could not pursue what they did not know.
  13         B.     Plaintiffs Were Diligent in Filing this Motion
  14         Plaintiffs have been diligent since the discovery of Ms. Werner’s account.
  15   The same day Ms. Werner came forward, Plaintiffs’ counsel emailed Defendants
  16   informing them that Ms. Werner came forward. The email included a summation
  17   of Ms. Werner’s statement. (Exhibit 4.) On July 15, 2020, Plaintiffs filed a
  18   supplemental pretrial disclosure adding Ms. Werner to Plaintiffs’ witness list. [Dkt.
  19   262.] Since July 15, 2020, the Parties have been meeting and conferring regarding
  20   a joint motion to take Ms. Werner’s deposition.
  21         Because Ms. Werner’s account of events is highly relevant, Plaintiffs
  22   suggested that the county stipulate to a joint motion moving this court to grant leave
  23   to take Ms. Werner’s deposition. Plaintiffs diligently tried to work with County
  24   Counsel to file a joint motion so that the specifics of Ms. Werner’s statement would
  25   not be publically filed until she testified under oath. Plaintiffs were concerned of
  26   the media firestorm and the expected backlash Ms. Werner would face if her
  27   account of events was publicly filed prior to her testimony being taken under oath.
  28   (Morris Decl., ¶ 8.) Plaintiffs made several attempts to file this motion jointly to
                                                  9
       EX PARTE MOTION FOR LEAVE TO TAKE DEPOSITION OF WERNER             3:17-cv-01154-LAB-AGS
Case 3:17-cv-01154-LAB-AGS Document 266 Filed 08/27/20 PageID.7454 Page 10 of 68



    1   avoid such troubles; however, despite agreeing that Ms. Werner should be deposed,
    2   County Counsel was unwilling to inform the Court that it withheld Ms. Werner’s
    3   identity. Plaintiffs were unwilling to file a pleading with misleading language.
    4   (Exhibit 5; Morris Decl., ¶ 9.) As of August 13, 2020, the parties were unable to
    5   agree to the language to be included in a joint motion. Plaintiffs filed the instant
    6   motion within 12 days.3
    7          C.     Prejudice to Defendants’ Should Not be Considered
    8          The only prejudice that the Court should consider is the prejudice Plaintiffs’
    9   will endure if Mr. Werner continues to be silenced. Defendants’ prejudice, if any,
   10   is self-made by intentionally concealing the identity of Ms. Werner.
   11                                             III.
   12       DEFENDANTS SHOULD BE ORDERED TO PRODUCE MS. WERNER’S
   13                              RECORDED STATEMENTS
   14          Piggybacking on the arguments above, Defendants should also be ordered to
   15   produce any recorded statement in its possession relating to Ms. Werner’s account
   16   of events. Had Ms. Werner’s identity been disclosed during discovery, Plaintiffs
   17   would have timely requested Defendants to produce all relevant recorded
   18   statements.
   19          It is imperative to obtain Ms. Werner’s recorded statements for two reasons.
   20   First, the recorded statements are discoverable and relevant to Plaintiffs’ claims.
   21   Defendants should not be the only party that has her recorded statements that could
   22   be used to cross-examine or impeach Ms. Werner.4 Second, depending on what
   23   Ms. Werner said, and what County Counsel knew, their conduct in concealing Ms.
   24
        3
   25     Plaintiffs intended to file this motion last week; however Ms. Pena’s father-in-law
        was placed on hospice on Sunday, August 16, 2020. Ms. Pena drove to Tucson,
   26   Arizona on Monday, August 17, 2020, and did not return until Saturday, August 22,
        2020. (Morris Decl. ¶ 10.)
   27   4
          Plaintiffs’ Counsel has requested the county to produce Ms. Werner’s recorded
        statement on both occasions. Each time, the county failed to respond. (Exhibit 6;
   28   Morris Decl. ¶ 11.)
                                                  10
        EX PARTE MOTION FOR LEAVE TO TAKE DEPOSITION OF WERNER              3:17-cv-01154-LAB-AGS
Case 3:17-cv-01154-LAB-AGS Document 266 Filed 08/27/20 PageID.7455 Page 11 of 68



    1   Werner’s identity could warrant extreme sanctions. Ms. Werner was initially
    2   interviewed in relation to another preventable suicide case, Nishimoto v. San Diego
    3   County, 16-cv-1974-BEN-LL.5 In relation to the Nishimoto interview, Ms. Werner
    4   told the investigator that county officials had altered documents. County Counsel
    5   concealed that information, and Ms. Werner’s identity, in the Nishimoto case. As
    6   the Nishimoto interview was ending, Ms. Werner was asked about her knowledge
    7   of Moriarty’s suicide. Ms. Werner told the investigator her account of the facts.
    8   The investigator responded, “You’re actually going to testify to that?”
    9            Plaintiffs wish to preserve any motion for sanctions until Ms. Werner’s
   10   testimony is made under the penalty of perjury and her recorded statements have
   11   been provided. Once Plaintiffs’ discover exactly what Ms. Werner told County
   12   Counsel, Plaintiffs will be better situated to request appropriate sanctions for
   13   withholding evidence and filing false, incomplete or fraudulent pleadings.
   14                                              IV.
   15        MS. WERNER SHOULD BE ADDED TO PLAINTIFFS’ WITNESS LIST
   16            The Final Pretrial Order may be modified “only to prevent manifest
   17   injustice.” Fed. R. Civ. P. 16(e). The party seeking an amendment bears the
   18   burden of establishing that the requested amendments are necessary to prevent
   19   “manifest injustice” to that party. Byrd v. Guess, 137 F.3d 1126, 1132 (9th Cir.
   20   1998); Germain v. Aig Domestic Claims Servs., 2009 U.S. Dist. LEXIS 148023, *3-
   21   4 (Mon. 2009).
   22            In Fresno Rock Taco, LLC v. Nat’l Surety Corp., 2014 U.S. Dist. LEXIS
   23   58085, *5-6 (E.D. Cal. 2014), the court held “The need for this testimony and
   24   evidence did not become clear until after Mr. Young… testified at the first trial that
   25   the City of Fresno refused to issue permits based on the work completed.” The
   26   Court concluded amendment of the pretrial order was warranted with respect to the
   27   addition of Ms. Richard and documents from the City of Fresno.”
   28   5
            Plaintiffs’ counsel also represented the Nishimoto family.
                                                    11
        EX PARTE MOTION FOR LEAVE TO TAKE DEPOSITION OF WERNER             3:17-cv-01154-LAB-AGS
Case 3:17-cv-01154-LAB-AGS Document 266 Filed 08/27/20 PageID.7456 Page 12 of 68



    1         Here, adding Ms. Werner to Plaintiffs’ exhibit list is the only way to prevent
    2   a manifest injustice because without her testimony the jury will not know that
    3   Defendant Weidenthaler knew Moriarty was suicidal, howling like a wounded
    4   animal, and that he threatened Ms. Werner to stay quiet. The need to add Ms.
    5   Werner as witness was not known until July 13, 2020. Two days later, Plaintiffs
    6   filed a supplemental pretrial disclosure adding only Ms. Werner to the witness list.
    7   [Dkt. 262.] Only Defendant Weidenthaler objected to the amendment based on a
    8   procedural objection. When Plaintiffs’ counsel met and conferred with Defendant
    9   Weidenthaler regarding the alleged need to file a motion to amend the PTO, and
   10   where such a rule is located, Defendant Weidenthaler did not respond. (Exhibit 7.)
   11                                            V.
   12         THE COUNTY’S CONTENTION THAT PLAINTIFFS’ COUNSEL
   13       SHOULD NOT HAVE SPOKEN TO MS. WERNER IS A DISTRACTION
   14           BOMB THAT SHOULD NOT BE GIVEN CONSIDERATION
   15         Instead of falling on its sword once Ms. Werner came forward, County
   16   Counsel doubled-down on its misconduct by accusing Morris Law Firm of
   17   misconduct. According to County Counsel, Morris Law Firm was precluded from
   18   speaking with Ms. Werner because she is a county employee, and is therefore a
   19   represented party. Specifically, during meet and confer discussions with County
   20   Counsel regarding the instant motion, County Counsel claimed Morris Law Firm
   21   was wrong to speak with Ms. Werner knowing she had been interviewed by County
   22   Counsel in March 2018.6 If County Counsel had it their way, every single adverse
   23   witness that is a county employee could be interviewed, and then his/her identity
   24   concealed, and then that witness would be forever precluded from coming forward
   25   6
         Even though it is of no consequence according to the applicable law and rules of
        ethics, Plaintiffs’ counsel did not know Ms. Werner had been interviewed by
   26   County Counsel until the end of the second discussion with Ms. Werner. Following
        the second discussion with Ms. Werner, Plaintiffs’ counsel saw it prudent to help
   27   Ms. Werner retain independent counsel that could represent her best interests.
        Since then, Plaintiffs’ counsel has not had substantive conversations with Ms.
   28   Werner.
                                                 12
        EX PARTE MOTION FOR LEAVE TO TAKE DEPOSITION OF WERNER           3:17-cv-01154-LAB-AGS
Case 3:17-cv-01154-LAB-AGS Document 266 Filed 08/27/20 PageID.7457 Page 13 of 68



    1   as she is a “represented” party and any adverse lawyer would be forbidden to speak
    2   with him/her. Inculpatory evidence could then be forever shielded from discovery
    3   and witnesses possessing that evidence would be prohibited from seeking
    4   independent counsel. That is not the law.
    5         Instead, the law does, in fact, prohibit the county from representing Ms.
    6   Werner in the first place. Under California State Bar Rule of Professional Conduct
    7   1.13, an attorney representing an organization, as County Counsel does, must
    8   conform his/her representation to the ideal that the organization itself, and not an
    9   individual, is the client. Rule 1.13 does allow for the dual representation of an
   10   organization and an individual by a single attorney but only if that representation
   11   complies with Rule 1.7 which strictly forbids an attorney to represent clients with
   12   adverse interests. This is why in this case Mr. Weidenthaler is being represented by
   13   Mr. Kutyla.
   14         Ms. Werner came forward to discuss her concerns about the county
   15   workplace and the county’s failure, in her opinion, to protect inmates and its
   16   employees from infection. On this issue, there can be no dispute that Ms. Werner
   17   was adverse to the county and was entitled to seek individual representation.
   18   During that discussion, she began discussing Moriarty and began voluntarily
   19   disclosing damaging information related to the Moriarty case. Ms. Werner had
   20   already been told to “stand down” on Moriarty, but her conscious would not allow
   21   her to remain silent forever. And her need to clear the record is strictly adverse to
   22   the county’s desire to conceal this information.
   23         In the lead up to this motion, County Counsel has taken the position that
   24   Morris Law Firm violated California Rule of Professional Conduct 4.2 (formerly
   25   Rule 2-100) which prohibits a lawyer from communicating with “a current
   26   employee, member, agent, or other constituent of the organization, if the subject of
   27   the communication is any act or omission of such person in connection with the
   28   ///
                                                  13
        EX PARTE MOTION FOR LEAVE TO TAKE DEPOSITION OF WERNER             3:17-cv-01154-LAB-AGS
Case 3:17-cv-01154-LAB-AGS Document 266 Filed 08/27/20 PageID.7458 Page 14 of 68



    1   matter which may be binding upon or imputed to the organization for purposes of
    2   civil or criminal liability.”
    3          In Snider v. Superior Court, 113 Cal.App.4th 1187, 1197–1198 (2003), the
    4   court concluded that this rule would only prohibit a lawyer from contacting
    5   employees that 1) he/she knew were represented and 2) were capable of binding the
    6   entity either through their own misconduct or because they were of capable, or
    7   possessed the authority, to speak on behalf of the organization. In that case, an
    8   attorney interviewed two current employees of an organization. The court
    9   reasoned:
   10          We conclude that there was no violation of Rule 2-100 as the
   11          contacted employees were not “represented parties” within the scope
               of that rule as (1) they were not “officer[s], director[s] or managing
   12          agent[s]” of the organization;(2) the subject matter of the
               communications was not an act or omission of the employees that
   13          could be binding or imputed to the organization; and (3) they were not
               employees whose statements might constitute admissions on behalf of
   14
               the organization. We further conclude that if the employees were
   15          subject to rule 2-100, the court still erred in ordering the
               disqualification of Larabee as the evidence did not show that he had
   16          actual knowledge the employees were represented parties. (Id.)
   17          In this case, Ms. Werner is a medical records clerk. She is not a supervisor
   18   or director. She has not been involved in this matter to date and does not supervise,
   19   direct, or regularly consult with County Counsel. (Werner Decl., ¶ 3.) She has no
   20   authority to obligate the county in respect to this lawsuit and lacks the authority to
   21   bind the county legally. In fact, County Counsel has, incredibly, taken the position
   22   that because Ms. Werner lacked the authority to “recommend” a safety cell, they
   23   were under no obligation to disclose her identity in response to Special
   24   Interrogatory No. 29. The county cannot now claim she has the authority to
   25   obligate or bind the county legally. In addition, Ms. Werner’s conduct does not
   26   create liability for the county – in fact just the opposite is true. Had others acted as
   27   Ms. Werner did, Moriarty would still be alive. Her candid recommendation to
   28   house Moriarty in a safety cell cannot/will not be imputed to the county for
                                                   14
        EX PARTE MOTION FOR LEAVE TO TAKE DEPOSITION OF WERNER              3:17-cv-01154-LAB-AGS
Case 3:17-cv-01154-LAB-AGS Document 266 Filed 08/27/20 PageID.7459 Page 15 of 68



    1   purposes of civil or criminal liability because Ms. Werner acted appropriately.
    2   Accordingly, Ms. Werner does not have the necessary relationship to the county in
    3   order to deem her “represented” under California Rule of Professional Conduct 4.2.
    4         In addition, there was no actual knowledge that Ms. Werner was represented
    5   by the county because she is not represented by County Counsel, nor could she be
    6   as outlined above. But even if she was, Rule 4.2, Note 5, explicitly allows for a
    7   known represented party to contact an independent lawyer for the purposes of
    8   seeking legal advice. Rule 4.2 Note 5 reads, “This rule does not prohibit
    9   communications initiated by a represented person seeking advice or representation
   10   from an independent lawyer of the person’s choice.”
   11         Finally, County Counsel will no doubt argue that once Ms. Werner indicated
   12   that she had been interviewed, Mr. Morris knew she was “represented.” This
   13   argument is nonsensical. First, Ms. Werner had been interviewed as part of the
   14   Nishimoto case, not Moriarty. Second, Ms. Werner was interviewed by a county
   15   investigator, not a lawyer from County Counsel. But even if a lawyer had been
   16   present, simply interviewing a witness does not ipso facto create an attorney client
   17   relationship, especially when that witness did not voluntarily reach out to the
   18   interviewing lawyer but was compelled to speak as part or her employment. But
   19   even if a compelled employee interview could have conceivably created an attorney
   20   client relationship, in this case, given the adverse nature of that relationship, no
   21   such relationship could actually be known to Plaintiffs’ counsel.
   22         Lastly, as set forth in the Declarations of Ms. Werner and Mr. Morris, this
   23   was a rapidly unfolding conversation. Ms. Werner had no idea that Mr. Morris was
   24   representing the Moriarty family. Ms. Werner quickly downloaded her most salient
   25   recollections. It was cathartic for her. She remains haunted by what she saw and
   26   heard. It was not until the end of a second conversation that Ms. Werner showed
   27   Mr. Morris an email from a county investigator requesting that she make herself
   28   available for an interview even though she “had already given a statement about
                                                   15
        EX PARTE MOTION FOR LEAVE TO TAKE DEPOSITION OF WERNER              3:17-cv-01154-LAB-AGS
Case 3:17-cv-01154-LAB-AGS Document 266 Filed 08/27/20 PageID.7460 Page 16 of 68



    1   Moriarty in the context of Nishimoto.” Ms. Werner told Mr. Morris that when she
    2   had been interviewed as part of the Nishimoto investigation in 2018 she also told
    3   the county investigator about Moriarty. Following the second conversation, Mr.
    4   Morris took efforts to assist Ms. Werner in procuring independent counsel to assist
    5   her in the interview process and has had limited contact with her since. (Werner
    6   Decl., ¶ 16; Morris Decl., ¶ 4.)
    7                                             VI.
    8                                       CONCLUSION
    9         Plaintiffs respectfully request that it be given the opportunity to take Ms.
   10   Werner’s deposition. While Ms. Werner has relayed some of the salient facts
   11   regarding her recollections pertaining to the circumstances surrounding Moriarty’s
   12   death, there are many gaps that still need to be filled in – for all parties. Given the
   13   accusations being made by the county, and in light of its conduct towards Ms.
   14   Werner, a deposition will provide a controlled environment in which all parties can
   15   freely receive and examine this information. In that vein, the notes and/or
   16   transcripts of Ms. Werner’s two interviews by county investigators should also be
   17   produced.
   18                                      Respectfully submitted,
   19                                      MORRIS LAW FIRM, APC
   20
        Dated: August 27, 2020              s/ Christopher S. Morris
   21                                      Christopher S. Morris, Esq.
                                           cmorris@morrislawfirmapc.com
   22                                      Danielle R. Pena, Esq.
                                           dpena@morrislawfirmapc.com
   23                                      Attorneys for Plaintiffs Michelle Moriarty, as
                                           Successor in Interest and Guardian Ad Litem to
   24                                      Alexandria, Elijah and Eternity Moriarty
   25

   26

   27

   28
                                                   16
        EX PARTE MOTION FOR LEAVE TO TAKE DEPOSITION OF WERNER              3:17-cv-01154-LAB-AGS
Case 3:17-cv-01154-LAB-AGS Document 266 Filed 08/27/20 PageID.7461 Page 17 of 68
Case 3:17-cv-01154-LAB-AGS Document 266 Filed 08/27/20 PageID.7462 Page 18 of 68
Case 3:17-cv-01154-LAB-AGS Document 266 Filed 08/27/20 PageID.7463 Page 19 of 68
Case 3:17-cv-01154-LAB-AGS Document 266 Filed 08/27/20 PageID.7464 Page 20 of 68
Case 3:17-cv-01154-LAB-AGS Document 266 Filed 08/27/20 PageID.7465 Page 21 of 68
Case 3:17-cv-01154-LAB-AGS Document 266 Filed 08/27/20 PageID.7466 Page 22 of 68
Case 3:17-cv-01154-LAB-AGS Document 266 Filed 08/27/20 PageID.7467 Page 23 of 68
Case 3:17-cv-01154-LAB-AGS Document 266 Filed 08/27/20 PageID.7468 Page 24 of 68
Case 3:17-cv-01154-LAB-AGS Document 266 Filed 08/27/20 PageID.7469 Page 25 of 68
Case 3:17-cv-01154-LAB-AGS Document 266 Filed 08/27/20 PageID.7470 Page 26 of 68
Case 3:17-cv-01154-LAB-AGS Document 266 Filed 08/27/20 PageID.7471 Page 27 of 68
Case 3:17-cv-01154-LAB-AGS Document 266 Filed 08/27/20 PageID.7472 Page 28 of 68
Case 3:17-cv-01154-LAB-AGS Document 266 Filed 08/27/20 PageID.7473 Page 29 of 68
Case 3:17-cv-01154-LAB-AGS Document 266 Filed 08/27/20 PageID.7474 Page 30 of 68
Case 3:17-cv-01154-LAB-AGS Document 266 Filed 08/27/20 PageID.7475 Page 31 of 68
Case 3:17-cv-01154-LAB-AGS Document 266 Filed 08/27/20 PageID.7476 Page 32 of 68
Case 3:17-cv-01154-LAB-AGS Document 266 Filed 08/27/20 PageID.7477 Page 33 of 68
Case 3:17-cv-01154-LAB-AGS Document 266 Filed 08/27/20 PageID.7478 Page 34 of 68
Case 3:17-cv-01154-LAB-AGS Document 266 Filed 08/27/20 PageID.7479 Page 35 of 68
Case 3:17-cv-01154-LAB-AGS Document 266 Filed 08/27/20 PageID.7480 Page 36 of 68
Case 3:17-cv-01154-LAB-AGS Document 266 Filed 08/27/20 PageID.7481 Page 37 of 68
Case 3:17-cv-01154-LAB-AGS Document 266 Filed 08/27/20 PageID.7482 Page 38 of 68
Case 3:17-cv-01154-LAB-AGS Document 266 Filed 08/27/20 PageID.7483 Page 39 of 68
Case 3:17-cv-01154-LAB-AGS Document 266 Filed 08/27/20 PageID.7484 Page 40 of 68
Case 3:17-cv-01154-LAB-AGS Document 266 Filed 08/27/20 PageID.7485 Page 41 of 68
Case 3:17-cv-01154-LAB-AGS Document 266 Filed 08/27/20 PageID.7486 Page 42 of 68
Case 3:17-cv-01154-LAB-AGS Document 266 Filed 08/27/20 PageID.7487 Page 43 of 68
Case 3:17-cv-01154-LAB-AGS Document 266 Filed 08/27/20 PageID.7488 Page 44 of 68
Case 3:17-cv-01154-LAB-AGS Document 266 Filed 08/27/20 PageID.7489 Page 45 of 68
Case 3:17-cv-01154-LAB-AGS Document 266 Filed 08/27/20 PageID.7490 Page 46 of 68
Case 3:17-cv-01154-LAB-AGS Document 266 Filed 08/27/20 PageID.7491 Page 47 of 68
Case 3:17-cv-01154-LAB-AGS Document 266 Filed 08/27/20 PageID.7492 Page 48 of 68
Case 3:17-cv-01154-LAB-AGS Document 266 Filed 08/27/20 PageID.7493 Page 49 of 68
Case 3:17-cv-01154-LAB-AGS Document 266 Filed 08/27/20 PageID.7494 Page 50 of 68
Case 3:17-cv-01154-LAB-AGS Document 266 Filed 08/27/20 PageID.7495 Page 51 of 68
Case 3:17-cv-01154-LAB-AGS Document 266 Filed 08/27/20 PageID.7496 Page 52 of 68
Case 3:17-cv-01154-LAB-AGS Document 266 Filed 08/27/20 PageID.7497 Page 53 of 68
Case 3:17-cv-01154-LAB-AGS Document 266 Filed 08/27/20 PageID.7498 Page 54 of 68
Case 3:17-cv-01154-LAB-AGS Document 266 Filed 08/27/20 PageID.7499 Page 55 of 68
Case 3:17-cv-01154-LAB-AGS Document 266 Filed 08/27/20 PageID.7500 Page 56 of 68
Case 3:17-cv-01154-LAB-AGS Document 266 Filed 08/27/20 PageID.7501 Page 57 of 68
Case 3:17-cv-01154-LAB-AGS Document 266 Filed 08/27/20 PageID.7502 Page 58 of 68
Case 3:17-cv-01154-LAB-AGS Document 266 Filed 08/27/20 PageID.7503 Page 59 of 68
Case 3:17-cv-01154-LAB-AGS Document 266 Filed 08/27/20 PageID.7504 Page 60 of 68
Case 3:17-cv-01154-LAB-AGS Document 266 Filed 08/27/20 PageID.7505 Page 61 of 68
Case 3:17-cv-01154-LAB-AGS Document 266 Filed 08/27/20 PageID.7506 Page 62 of 68
Case 3:17-cv-01154-LAB-AGS Document 266 Filed 08/27/20 PageID.7507 Page 63 of 68
Case 3:17-cv-01154-LAB-AGS Document 266 Filed 08/27/20 PageID.7508 Page 64 of 68
Case 3:17-cv-01154-LAB-AGS Document 266 Filed 08/27/20 PageID.7509 Page 65 of 68
Case 3:17-cv-01154-LAB-AGS Document 266 Filed 08/27/20 PageID.7510 Page 66 of 68
Case 3:17-cv-01154-LAB-AGS Document 266 Filed 08/27/20 PageID.7511 Page 67 of 68
Case 3:17-cv-01154-LAB-AGS Document 266 Filed 08/27/20 PageID.7512 Page 68 of 68
